

Matter of Acevedo v Annucci (2025 NY Slip Op 02111)





Matter of Acevedo v Annucci


2025 NY Slip Op 02111


Decided on April 10, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 10, 2025

CV-23-0757
[*1]In the Matter of Dennys Acevedo, Petitioner,
vAnthony J. Annucci, as Acting Commissioner of Corrections and Community Supervision, Respondent.

Calendar Date:March 21, 2025

Before:Garry, P.J., Aarons, Reynolds Fitzgerald, McShan and Mackey, JJ.

Dennys Acevedo, Ossining, petitioner pro se.
Letitia James, Attorney General, Albany (Kate H. Nepveu of counsel), for respondent.



Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of the Superintendent of Sing Sing Correctional Facility finding petitioner guilty of violating certain prison disciplinary rules.
Petitioner commenced this CPLR article 78 proceeding to challenge a tier II determination finding him guilty of violating certain prison disciplinary rules. The Attorney General has advised this Court that the determination has since been administratively reversed, all references thereto have been expunged from petitioner's institutional record and the mandatory $5 surcharge has been refunded to petitioner's account. In view of this, and given that petitioner has been granted all the relief to which he is entitled, the petition must be dismissed as moot (see Matter of Davis v Annucci, 227 AD3d 1313, 1314 [3d Dept 2024]; Matter of Ross v Rodriguez, 225 AD3d 1051, 1052 [3d Dept 2024]).
Garry, P.J., Aarons, Reynolds Fitzgerald, McShan and Mackey, JJ., concur.
ADJUDGED that the petition is dismissed, as moot, without costs.








